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                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MASSACHUSETTS
                                      EASTERN DIVISION

 In re:
           Antonio Correia,                        Chapter 13
                                 Debtor            Case No. 18-13353-FJB

 Nathaniel Vasallo,
 Plaintiff                                         Adversary Proceeding No.
     v.
 Antonio Correia, Dora Aja, Greenville Realty,
 LLC, and Carolyn Bankowski, Chapter 13
 Trustee,
 Defendants


      NATHANIEL VASALLO’S COMPLAINT TO ESTABLISH THAT ANTONIO
      CORREIA’S BANKRUPTCY CASES DO NOT AFFECT THE VALIDITY OF
       NATHANIEL VASALLO’S TITLE TO 30 AND 40 GREENVILLE STREET

          This Complaint seeks a determination that Antonio Correia’s bankruptcy cases do not

affect the validity of Nathaniel Vasallo’s title to property known as 30 and 40 Greenville Street,

Roxbury, Massachusetts (the “Property”).

                                     Parties and Jurisdiction

1. Plaintiff Nathaniel Vasallo is an individual with a residential address in Hyde Park, MA

   02136.

2. Debtor Antonio Correia is an individual with an address of 30 West Cottage Street #1,

   Boston, MA 02125.

3. Defendant Dora Aja is an individual with a residential address of 22 ½ Sigourney Street,

   Jamaica Plain, MA 02130.

4. Defendant Greenville Realty, LLC is a dissolved Massachusetts limited liability company

   with an address of 44 Highland Street Boston, MA 02119. It was dissolved on June 30,

   2017. Its resident agent is Christian Pam, 15420 Norwalk Court, Bowie, MD 20716.
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5. The Chapter 13 Trustee, Carolyn Bankowski, has an office at 98 North Washington Street,

   Boston, MA 02114.

6. As a court of equity, this court has the power to remove clouds on title See Perrino v. BAC

   Home Loans Servicing, LP (In re Trask), 462 B.R. 268, 273 (1st Cir. BAP 2011)

   (“Bankruptcy courts are courts of equity….”); McArthur v. Hood Rubber Co., 221 Mass.

   372, 376 (1915) (“The principle on which jurisdiction is founded to remove a cloud upon a

   title is … that whenever a deed or other instrument exists which … may cast a suspicion

   upon his title or interest …, then a court of equity will afford relief …”).

7. This matter is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(G), (N), dealing with “(G)

   motions to terminate, annul, or modify the automatic stay; … and/or (N) orders approving

   the sale of property …”

8. This Court has jurisdiction over this adversary complaint pursuant to 28 U.S.C. §1334(b), as

   a matter related to a case under Title 11. See In re Gold, 247 B.R. 574, 577-79 (Bankr. D.

   Mass. 2000).

9. This Court is an appropriate venue pursuant to 28 U.S.C. §1409(a) because this complaint

   relates to a case pending under Title 11 in the District of Massachusetts.

10. This Court has jurisdiction to enter final orders and rulings in this matter.

11. Nathaniel Vasallo consents to the issuance of final orders and judgments by this Court.

                                        General Allegations

12. On October 31, 2011, the Debtor filed his bankruptcy petition in a prior Chapter 13 case, In

   re Antonio Correia, Case No. 11-20343-FJB (the “2011 Case”).

13. On June 27, 2014, while the 2011 Case was pending, and without permission from this

   Court, the Debtor conveyed his one-half interest in 30 and 40 Greenville Street, Roxbury,



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   MA (the “Property”) to Greenville Realty, LLC, by deed recorded with the Suffolk County

   Registry of Deeds in Book 53158, Page 105 (the “First Deed”) (attached hereto at pages 9-11

   as Exhibit “A”).

14. On August 13, 2014, Carolyn A. Bankowski, the Chapter 13 Trustee in the 2011 Case and in

   this case (the “Trustee”), wrote in an email to the Debtor’s counsel that “[w]e have received

   information that Antonio Correia sold his interest in real estate located at 30-40 Greenville

   Street, Roxbury, MA without court approval in June 2014. Please advise if this information is

   accurate.” That email forwarded another email sent that day to the Trustee, which states “this

   is the Fax we received with the copies of the deeds from the sale of the Greenville Street

   properties in the Correia case.” (attached hereto at page 13 as Exhibit “B”).

15. On August 25, 2014, Greenville Realty, LLC conveyed the Property to Vasallo by deed

   recorded with the Suffolk County Registry of Deeds in Book 53417, Page 190 (the “Second

   Deed”) (attached hereto at pages 15-16 as Exhibit “C”).

16. On June 19, 2015, this Court issued an Order in the 2011 Case denying Vasallo’s motion to

   approve the sale of the Property without prejudice, and stating that (1) “[t]he validity of the

   transactions … are matters for the state court to address” and (2) after the state law issues are

   resolved “this court will consider approval of the sale nunc pro tunc” (attached hereto at page

   18 as Exhibit “D”).

17. The June 19, 2015 Order further states:

       [T]here is no question that the transfer of property out of the bankruptcy estate
       was done without Court authority, that such action was contrary to the dictates of
       the Bankruptcy Code and that, even taking all of the Debtor’s representations as
       true, the Debtor’s delay in alerting the Court was unacceptably long. In fact,
       amidst all of the various allegations, and more than one year after the transfer, no
       party has taken any action to avoid the transfer.



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18. On August 31, 2015, this Court granted Vasallo relief from stay to litigate state law issues

   regarding the Property, but not bankruptcy issues (attached hereto at page 20 as Exhibit “E”).

19. On June 7, 2017, this Court issued an Order that the 2011 Case be closed (attached hereto at

   page 22 as Exhibit “F”).

20. On July 18, 2017, the Debtor filed his bankruptcy petition in another Chapter 13 case (the

   “2017 Case”).

21. On May 1, 2018, this Court dismissed the 2017 Case (attached hereto at page 24 as Exhibit

   “G”).

22. On August 30, 2018, Suffolk Superior Court Judge Wilson granted Vasallo’s motion for

   summary judgment (attached hereto at page 26 as Exhibit “H”).

23. On August 31, 2018, the Debtor filed his bankruptcy petition in this Chapter 13 case (the

   “2018 Case”).

24. On November 28, 2018, the Debtor filed an amended Schedule C valuing his claim to the

   Property as worth $100 (attached hereto at pages 28-29 as Exhibit “I”).

25. On November 9, 2018, Judge Wilson signed a Final and Separate Judgment stating that

   Vasallo “holds title to the Property as a bona fide purchaser without actual or constructive

   notice that the Correias would challenge his title” and that “this Judgment resolves all

   claims in this litigation between ... Vasallo and the Correias under Massachusetts law, but is

   not a determination of any bankruptcy law.” (attached hereto at pages 31-32 as Exhibit “J”).

                                          Count I
       There is No Automatic Stay as to the Deeds Pursuant to 11 U.S.C. § 362(b)(24)

26. Each of the foregoing allegations are hereby realleged and incorporated.

27. There is no automatic stay “of any transfer that is not avoidable under section 544 and that is

   not avoidable under section 549.” 11 U.S.C. § 362(b)(24).

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28. “If there is no stay by virtue of § 362(b)(24), an act cannot be void.” Litton Loan Servicing,

   L.P. v. Rockdale County. (In re Howard), 391 B.R. 511, 517 n.8 (Bankr. N.D. Ga. 2008).

29. Pursuant to Section 362(b)(24) there is no automatic stay as to the First Deed and the Second

   Deed (collectively the “Deeds”), and the Deeds are not void, because the Deeds are not

   avoidable under section 544 or section 549.

30. “Section 544 deals with a trustee's rights at the time of commencement of the bankruptcy

   case and has no relevance” to sales that occurred after the case commenced. Litton Loan

   Servicing, 391 B.R. at 515.

31. The Deeds were signed and recorded in 2014, which is after the 2011 Case was commenced

   in 2011, so there is no cause of action to avoid the First Deed or the Second Deed pursuant to

   section 544.

32. Any challenge to the Deeds has been barred since 2016 by the two-year statute of limitations

   in section 549(d)(1), which provides in relevant part that “an action or proceeding under this

   section may not be commenced after … two years after the date of the transfer sought to be

   avoided.” 11 U.S.C. § 549(d)(1).

33. Equitable tolling cannot overcome the statute of limitations, because even if equitable tolling

   applied, it would end when “the Trustee gains actual knowledge of the transfer.” Slone v.

   Anderson (In re Anderson), 511 B.R. 481, 502 (Bankr.S.D.Ohio 2013), aff'd, 510 B.R. 113

   (6th Cir. BAP 2014). Here, the Trustee has known about the First Deed since August 13,

   2014, so equitable tolling does not prevent the statute of limitations from having run in 2016.

34. The Debtor does not have standing to avoid the Deeds pursuant to 11 U.S.C. § 549(a).

35. Moreover, the Second Deed cannot be avoided because Vasallo is a good faith purchaser

   pursuant to section 549(c).



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                                         Count II
 Retroactive Lifting of the Automatic Stay as to the Deeds Pursuant to 11 U.S.C. § 362(d)

36. Each of the foregoing allegations are hereby realleged and incorporated.

37. Alternatively, if the relief sought in Count I is not granted, this Court should lift the

   automatic stay retroactively. See Soares v. Brockton Credit Union (In re Soares), 107 F.3d

   969, 976 (1st Cir.1997) (“11 U.S.C. § 362(d) permits bankruptcy courts to lift the automatic

   stay retroactively and thereby validate actions which otherwise would be void.”).

38. “[R]etroactive relief from the automatic stay must rest on a set of facts that is both unusual

   and unusually compelling.” Soares v. Brockton Credit Union (In re Soares), 107 F.3d 969,

   977 (1st Cir.1997).

39. The facts in this case are unusual and unusually compelling, so relief from the stay should be

   lifted retroactively.

                                             Count III
                                       Declaratory Judgment

40. Each of the foregoing allegations are hereby realleged and incorporated.

41. On November 28, 2018, the Debtor filed an amended Schedule C valuing his claim to the

   Property as worth $100.

42. There is an actual dispute between Nathaniel Vasallo and the Debtor that affects Title to the

   Property.

43. This Court should grant declaratory judgment stating that the Debtor’s bankruptcy cases do

   not affect Nathaniel Vasallo’s title to the Property.

WHEREFORE, Nathaniel Vasallo requests that this Court issue a judgment:

A. declaring that Antonio Correia’s bankruptcy cases do not affect the validity of Nathaniel

   Vasallo’s title to property known as 30 and 40 Greenville Street, Roxbury, Massachusetts, as



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   more particularly described in the deed recorded with the Suffolk County Registry of Deeds

   in Book 53417, Page 190;

B. stating that the judgment shall be effective immediately upon entry, notwithstanding the

   provisions of Fed. R. Bankr. P. 4001(a)(3);

C. stating that the judgment does not determine any state law issues between Nathaniel Vasallo

   and Dora Aja;

D. stating that a certified copy of the judgment may be recorded with the Suffolk County

   Registry of Deeds upon payment of the Registry of Deed’s recording fee; and

E. ordering such further relief as this Court deems just and proper.

Dated: February 28, 2019                             Nathaniel Vasallo
                                                     Through counsel,
                                                     /s/ John F. Willis
                                                     John F. Willis (BBO#649284)
                                                     Fidelity National Law Group
                                                     125 High Street, Suite 1813
                                                     Boston, MA 02110
                                                     John.Willis@fnf.com
                                                     617-316-0144




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                              EXHIBIT A
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                              EXHIBIT B
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                                                                          Carmenelisa Perez-Kudzma <carmenelisa@pklaw.law>



  FW: 11-20343 CORREIA
  21 messages

  Carolyn Bankowski <CBankowski@ch13boston.com>                                                        Wed, Aug 13, 2014 at 4:15 PM
  To: Carmenelisa Perez-Kudzma <attorney.carmenelisa@gmail.com>

    Carmenelisa,

    We have received information that Antonio Correia sold his interest in real estate located at 30-40 Greenville Street,
    Roxbury, MA without court approval in June 2014. Please advise if this information is accurate. If it is accurate, why was
    a Motion for Authority to sell the real estate not filed with the Bankruptcy Court prior to the sale? As you are aware,
    section 363 of the Bankruptcy Court requires a debtor to obtain court approval before selling any property of the
    bankruptcy estate.

    Carolyn A. Bankowski
    Chapter 13 Trustee
    Eastern Division of Massachusetts



    -----Original Message-----
    From: Elizabeth Mitchell
    Sent: Wednesday, August 13, 2014 3:43 PM
    To: Carolyn Bankowski
    Subject: 11-20343 CORREIA

    Carolyn this is the Fax we received with the copies of the deeds from the sale of the Greenville street properties in the
    Correia case.

    -----Original Message-----
    From: Ann Marie Hotchkiss
    Sent: Wednesday, August 13, 2014 3:37 PM
    To: Elizabeth Mitchell
    Subject: FW: Incoming fax from 17814610286



    -----Original Message-----
    From: 13trustee
    Sent: Wednesday, August 13, 2014 3:33 PM
    To: Ann Marie Hotchkiss
    Subject: Incoming fax from 17814610286

    Please see the attached fax image.

     2 attachments
           fax_August_13_2014_15_26_26_0227-001.pdf
           240K
           ATT00001.txt
           0K


  Carmenelisa Perez-Kudzma <carmenelisa@pklolaw.com>                                                   Wed, Aug 13, 2014 at 4:36 PM
  To: Carolyn Bankowski <CBankowski@ch13boston.com>

    Let me figure it out. Thanks.
    [Quoted text hidden]

https://mail.google.com/mail/u/0/?ui=2&ik=ed4065bbeb&jsver=c6entt0uZCQ.en.&view=pt&q=cbankowski%40ch13boston.com%20correia&qs=true&se…   1/7
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                                   DISTRICT OF MASSACHUSETTS
                                  Proceeding Memorandum/Order

In Re: Antonio Correia                                              Case/AP Number 11-20343 -FJB
                                                                    Chapter 13

       #190 Motion filed by Interested Party Nathaniel Vasallo To Approve Sale of Land at 30 and
       40 Greenville Street, nunc pro tunc (Willis, John)
       #200 Response and Opposition filed by Debtor Antonio Correia (Perez-Kudzma, Carmenelisa)
       #201 Chapter 13 Trustee's Report Regarding Unauthorized Sale of Property of the Estate
       (Re: 195 Order on Generic Motion) filed by Trustee Carolyn Bankowski-13 (Bankowski-13,
       Carolyn)

COURT ACTION:
_________Hearing held
_________Granted    __________ Approved ___________ Moot
_________ Denied    __________ Denied without prejudice      __________Withdrawn in open court
_________ Overruled __________ Sustained
_________Continued to___________________________________________________________________________
_________Proposed order to be submitted by _____________________________________________________
_________Stipulation to be submitted by_________________________________________________________
_________No appearance by ______________________________________________________________________
Show Cause Order    __________Released     ___________Enforced

DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:


Hearing held. The Ch. 13 Trustee and United States Trustee ably and thoroughly reported the
results of their investigations. The transactions at issue are convoluted, perhaps
intentionally so. But there is no question that the transfer of property out of the bankruptcy
estate was done without Court authority, that such action was contrary to the dictates of the
Bankruptcy Code and that, even taking all of the Debtor’s representations as true, the Debtor’s
delay in alerting the Court was unacceptably long. In fact, amidst all of the various
allegations, and more than one year after the transfer, no party has taken any action to avoid
the transfer. I am exceedingly troubled by what has occurred in this case and I record these
observations for the consideration of any judge that is addressing this case in the future.

On the other hand, there is no question that the Debtor has proposed a 100% plan, which is
nearly completed, and it appears that no creditors will be harmed by this debacle. The Ch. 13
trustee reports that she anticipates withdrawing her pending Motion to Dismiss upon the receipt
of a plan payment, and no other party has asked me to either dismiss or convert this case. The
validity of the transactions, and the various claims by and against the various parties
implicated, are matters for the state court to address. The Court hereby abstains from the
determination of whether the transfer from the Debtor to Greenville was the product of fraud or
was otherwise invalid under state law. The Motion of Nathaniel Vasallo to Approve Sale is
denied without prejudice to renewal in the event that a state court of competent jurisdiction
determines that the transfer from the Debtor to Greenville was not the product of fraud nor
otherwise invalid under state law. In that event, the Court will then consider approval of the
sale nunc pro tunc.




                                           IT IS SO ORDERED:




                                                                                  06/19/2015
                                           ________________________________Dated:________
                                           Frank J. Bailey
                                           United States Bankruptcy Judge
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                              EXHIBIT E
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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MASSACHUSETTS


In Re:   Antonio Correia                                          Chapter: 13
         Debtor,                                                  Case No: 11−20343
                                                                  Judge Frank J. Bailey



                           ORDER DISCHARGING CHAPTER 13 TRUSTEE
                        AND CLOSING CASE WITHOUT A DEBTOR DISCHARGE




No certification having been filed that all domestic support payments due have been paid, therefore, pursuant to 11
U.S.C. §1328(a) no discharge has been entered.



IT IS HEREBY ORDERED that Carolyn Bankowski, the Trustee is discharged from any further duties herein
and that this case is hereby closed pursuant to 11 U.S.C. § 350(a).




Date:6/7/17                                                       By the Court,

                                                                  Frank J. Bailey
                                                                  U.S. Bankruptcy Judge
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                                 UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MASSACHUSETTS


In Re:   Antonio G. Correia                                     Chapter: 13
         Debtor,                                                Case No: 17−12661
                                                                Judge Frank J. Bailey



                                          NOTICE OF DISMISSAL




You are hereby notified that an Order Dismissing the above debtor was entered on 5/1/18 .




Date:5/16/18                                                    By the Court,

                                                                Noe Calvo
                                                                Deputy Clerk
                                                                617−748−5344



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                              EXHIBIT H
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                                                                                    Fill in this information to identify your case:

                                                                                    Debtor 1        Antonio Correia

                                                                                    Debtor 2
                                                                                    (Spouse, if filing)                                                                                               x   Check if this is an amended
                                                                                                                                                                                                          filing
                                                                                    United States Bankruptcy Court for the District of Massachusetts

                                                                                    Case number           1:18-bk-13353
                                                                                    (If known)



                                                                               Official Form 106C
                                                                               Schedule C: The Property You Claim as Exempt                                                                                                   04/16


                                                                               Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
                                                                               the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
                                                                               needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
                                                                               and case number (if known).

                                                                               For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
                                                                               specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
                                                                               any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
                                                                               funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
                                                                               exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
                                                                               to the applicable statutory amount.


                                                                                Part 1:              Identify the Property You Claim as Exempt

                                                                               1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
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                                                                                            You are claiming Massachusetts Exemptions (04/07/2011) and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
                                                                                            You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

                                                                               2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
                                                                                                                           Current value of the
                                                                                                                                                     Amount of the exemption you claim
                                                                                     Brief description of the property      portion you own
                                                                                    and line on Schedule A/B that lists                                                                         Specific laws that allow exemption
                                                                                                                                                          Check only one box for each
                                                                                               this property                Copy the value from
                                                                                                                                                                  exemption
                                                                                                                              Schedule A/B

                                                                                 30 West Cottage St, Boston MA 02125                $384,000.00           $500,000.00                          Mass. Gen. L. c. 235, § 34,
                                                                                 (Line 1)                                                                 100% of fair market value, up to     c. 188, § 3
                                                                                                                                                          any applicable statutory limit

                                                                                 Furniture (Line 6)                                    $3,000.00          $3,000.00                            Mass. Gen. L. c. 235, § 34,
                                                                                                                                                          100% of fair market value, up to
                                                                                                                                                          any applicable statutory limit

                                                                                 Men's Clothing (Line 11)                              $1,000.00          $1,000.00                            Mass. Gen. L. c. 235, § 34,
                                                                                                                                                          100% of fair market value, up to
                                                                                                                                                          any applicable statutory limit

                                                                                 Men's watches, a gold chain and                       $1,500.00          $1,225.00 + $275.00                  Mass. Gen. L. c. 235, § 34, and
                                                                                 bracelet (Line 12)                                                       100% of fair market value, up to     Mass. Gen. L. c. 235,
                                                                                                                                                          any applicable statutory limit       § 34,

                                                                                 Cash (Line 16)                                           $40.00          $40.00                               Mass. Gen. L. c. 235, § 34, & c.
                                                                                                                                                          100% of fair market value, up to     246, § 28A
                                                                                                                                                          any applicable statutory limit

                                                                                 Bank of America Checking (Line 17)                       $86.00          $86.00                               Mass. Gen. L. c. 235, § 34, & c.
                                                                                                                                                          100% of fair market value, up to     246, § 28A
                                                                                                                                                          any applicable statutory limit




                                                                               Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                                   Page 1
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                                                                                                                                         11/28/1812:26:26
                                                                                                                                                  14:34:58 Desc
                                                                                                                                                           DescMain
                                                                                                                                                                  Main
                                                                               Debtor 1     Antonio Correia                                                Case number: 1:18-bk-13353
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                                                                                                                             Current value of the
                                                                                                                                                       Amount of the exemption you claim
                                                                                     Brief description of the property        portion you own
                                                                                    and line on Schedule A/B that lists                                                                           Specific laws that allow exemption
                                                                                                                                                            Check only one box for each
                                                                                               this property                  Copy the value from
                                                                                                                                                                    exemption
                                                                                                                                Schedule A/B

                                                                                Citizens Bank Checking acct. (Line 17)                      $10.00          $10.00                                Mass. Gen. L. c. 235, § 34, & c.
                                                                                                                                                            100% of fair market value, up to      246, § 28A
                                                                                                                                                            any applicable statutory limit

                                                                                National Fire Insurance Pension (Line                  $174,000.00          $174,000.00                           Mass.Gen.L. c. 32-41
                                                                                21)                                                                         100% of fair market value, up to
                                                                                                                                                            any applicable statutory limit

                                                                                Dispute over 40 and 30 Greenville                          $100.00          $2,000.00                             Mass. Gen. L. c. 235, § 34,
                                                                                Street, Roxbury, MA Approximate                                             100% of fair market value, up to
                                                                                value 200,000.00 (Line 53)                                                  any applicable statutory limit

                                                                                                                    Total              $563,736.00                               $681,636.00

                                                                               3.     Are you claiming a homestead exemption of more than $160,375.00?
                                                                                      (Subject to adjustment on 04/01/2019 and every 3 years after that for cases filed on or after the date of adjustment.)
                                                                                           No
                                                                                      x Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                                                                                                No
                                                                                          x Yes
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                                                                               Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                    Page 2
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